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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA
_________________________________________
                                          )
HULLEY ENTERPRISES LTD.,                  )
YUKOS UNIVERSAL LTD., and                 )   Case No. 1:14-cv-01996-BAH
VETERAN PETROLEUM LTD.,                   )
                                          )
                  Petitioners,            )
                                          )
            v.                            )
                                          )
THE RUSSIAN FEDERATION,                   )
                                          )
                  Respondent.             )
_________________________________________ )

                          PETITIONERS’ MOTION TO STAY

       Petitioners Hulley Enterprises Ltd., Yukos Universal Ltd., and Veteran Petroleum Ltd.

(collectively, “Petitioners”) respectfully move to stay this action pending the Court of Appeal

of The Hague’s resolution of Petitioners’ appeal of the District Court of The Hague decision

dated April 20, 2016 (ECF No. 102-1 (Dutch version) and 102-2 (English version)), for the

reasons set forth in the papers accompanying this motion.

       Pursuant to Rule 7(m) of the Civil Rules of the United States District Court for the

District of Columbia, Petitioners have discussed this motion with counsel for Respondent, who

opposes the motion.

       Pursuant to Rule 7(a) of the Civil Rules of the United States District Court for the

District of Columbia, in support of their Motion to Stay, Petitioners submit herewith a

Memorandum of Law and the Declaration of Marnix Leijten.

       Pursuant to Rule 7(c) of the Civil Rules of the United States District Court for the

District of Columbia, Petitioners also submit herewith a Proposed Order.
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Dated: May 16, 2016
                                     Respectfully submitted,

                                     SHEARMAN & STERLING LLP


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